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                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS

 UNITED STATES OF AMERICA                          )
                                                   )
    v.                                             )      No. 4:99-CR-108 BSM
                                                   )
 DANIEL CHROBAK                                    )

                        MOTION TO DISMISS WIHTOUT PREJUDICE

         The United States of America by and through Cody Hiland, United States Attorney for the

Eastern District of Arkansas, and Alexander D. Morgan, Assistant United States Attorney, for its

motion to dismiss without prejudice states as follows:

         On November 30, 2018, the United States filed a superseding petition for revocation of

supervised release based upon the discovery of several suspected images of child pornography on

a laptop used by Defendant. On December 3, 2018, the Court signed the superseding petition and

issued a sealed arrest warrant. Authorities arrested Defendant on December 4, 2018, and he was

thereafter detained pending a hearing on the superseding petition to revoke.

         At the bond hearing, Defendant’s live-in girlfriend Holly Wind testified in pertinent part

the laptop belonged to her, and she owned it for several years before Defendant gained access to

it during their recent cohabitation. In preparation for the revocation hearing, later forensic analysis

of the images at issue revealed they were downloaded/last accessed well before Defendant gained

access to the laptop and are therefore not attributable to him. Related allegations in the superseding

petition are without merit.

         WHEREFORE, the United States prays that the Court dismiss the superseding petition to

revoke without prejudice.



                      [END OF TEXT. SIGNATURE PAGE ATTACHED.]
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                                                     Respectfully submitted,

                                                     CODY HILAND
                                                     United States Attorney

                                                     /s/ Alexander D. Morgan        ..
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                                  CERTIFICATE OF SERVICE

       I certify that on December 10, 2018, a copy of the foregoing was electronically filed with

the Clerk of the Court by using the Case Management/Electronic Case Files (CM/ECF) system,

which shall send electronic notification of such filing to opposing counsel of record.

                                                     /s/ Alexander D. Morgan             ..
                                                     ALEXANDER D. MORGAN
